
ORDER
11 Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel,
IT IS ORDERED that respondent, William Clifton Stoutz, Louisiana Bar Roll number 26726, be and he hereby is suspended from the practice of .law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that the Office of Disciplinary Counsel may seek the appointment of a trustee(s) to protect the interests of respondent’s clients pursuant to the provisions of Supreme Court Rule XIX, § 27, if appropriate.
FOR THE COURT:
/s/ Bernette J. Johnson
/s/ Justice, Supreme Court of Louisiana
